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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MICHIGAN

 

TIMOTHY KING, MARIAN SHERIDAN,
JOHN HAGGARD, CHARLES
RITCHARD, JAMES HOOPER, DAREN
RUBINGH.

Plaintiffs,

vs Civil Action No. No. 2:20-cv-13134-LVP

GRETCHEN WHITMER, in her official
capacity as the Governor of the State of
Michigan,

JOCELYN BENSON, in her official capacity
as Michigan Secretary of State

and

the MICHIGAN BOARD OF STATE
CANVASSERS,

Defendants,

and

CITY OF DETROIT,
DEMOCRATIC NATIONAL COMMITTEE

and
MICHIGAN DEMOCRATIC PARTY,

Intervenor-Defendants.

 

 

AFFIDAVIT OF JULIA Z. HALLER
I, Julia Z. Haller do hereby state and AFFIRM:
1, My name is Julia Z. Haller. | am over the age of eighteen and have personal

knowledge of the facts set forth below.
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2. Pursuant to this Court’s Order dated August 25, 2021 [ECF 172] and Judgement
dated December 2, 2021 [ECF 180], I am required to complete a total of 12 hours of continuing
legal education in pleading standards (6 hours) and election law (6 hours) by February 25, 2022.

3. By voluntarily complying with the Court’s Order, I do not waive any legal defenses
or arguments, including those raised in the pending Appeal of this Court’s final Judgement of
December 2, 2021. In particular, I am not waiving the fact that I never practiced in this court or
applied for admission under L.R. 83.20(d)(2).

4, The Continuing Education Classes (“CLEs”) and descriptions are set forth below.
Copies of certificates of attendance are provided as an Exhibit to this Declaration.

5. The following CLEs relate to pleading standards:

The Fundamentals of Pleading Practice in State and Federal Court
February 19, 2021, National Academy of Continuing Legal Education, nacle.com.
1.2 General credit

Description: Detailed, precise, and accurate initial pleadings form
the cornerstone of your case. From filing the initial writ or complaint
to responsive pleadings such as the answer and new matter, each
step in the process is crucial. This CLE course will teach you
everything you need to know about the initial pleading stages of a
case in both federal and state court.

This course will explain what to do, and when to do it at each stage
of the initial pleading process. The course covers, state court filings
from the initiation of the suit to the filing of a Reply to New Matter
as well as the basics of when and how to plead in a third party. The
federal component of the course instructs the practitioner on the
filing of the initial notice, the Complaint, Answer, and the basics of
pleading in third parties.

Developing Your Case: The Who, What, When, Why and How - 2021
Government Law Institute

February 23, 2022, DC Bar

1.5 General Credit

Description: Those who attend this session will hear from experienced government
litigators who will share tips and best practices for investigating complaints and

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filing affirmative civil actions. The presenters will discuss various investigative
tools available to government attorneys and the pros and cons of using different
tools depending on the stage of investigation or the type of complaint. Those who
attend will also learn how to develop a working theory of an affirmative case and
the best way to plead a civil action to survive a motion to dismiss or to support a
later dispositive motion,

Judicial Review of Agency Decision Making 2022
February 8, 2022, DC Bar
3.6 General Credits

Description: Join us for this popular class, during which our faculty experts address
the scope of reviewability of agency rules, including the finality and presumption
of reviewability; threshold defenses and standing; timing of judicial review,
including mootness, ripeness, and exhaustion; statutory construction and regulatory
interpretation; scope of judicial review; and remedies.

This class is a must for those attorneys involved in the federal administrative
process, either for the government or on behalf of regulated individuals and
organizations.

6. The following CLEs relate to election law:

Election Crimes
February 19, 2022, DC Bar
1.2 general credit

Description: In the third session of this five-part series, our expert speakers will
address election crimes. Those who attend will learn about election-related crimes,
including fraudulent registration and voting, issues relating to voting by mail and
internet election crimes, and threats to election workers. The panel will share case
studies and lessons learned from their experiences prosecuting election crime
cases. Among the specific topics the panel will address are

e« Howto prepare for election cycles and work with elections departments
e How to initiate and carry out an election-related investigation without
undermining the integrity of the electoral process

Vote by Mail, Early Voting and Digitized Election Administration
February 22, 2022, ABA
2.5 Professional Practice Credits

Description: Early or convenience voting—the laws, rules, and
procedures that allow citizens to cast ballots at a place and time other

than at the precinct on Election Day—has grown dramatically in the

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United States over the past 35 years to a point where it is a
permanent part of the American election ecosystem.2 Although—or
perhaps because—more than two-thirds of the states (39 plus the
District of Columbia) offer some form of early voting, it remains a
popular target for election reformers, who often identify higher
turnout as a goal and early voting as a tool to reach it. It also
continues to be a venue for bitter partisan and legal disputes.

‘The digitization of elections has both improved the administration
of voting and opened elections to increased vulnerabilities. When
the digital revolution first dawned, campaign practitioners, election
officials, and policymakers recognized the potential for increased
efficiency and accuracy in election administration. Many experts
saw digitization in U.S. elections as a tremendous opportunity for
candidates to run more sophisticated campaigns and for states to run
better elections.1 For example, collecting data about individual
voters has allowed campaigns to target them with campaign
messages specific to their interests; digitized election administration
means more accurate and efficient election management; and
leveraging data has revolutionized the efforts of election
administrators, nonprofits, and campaigns to get voters to the polls.

At the same time, privacy scholars have debated the possible
unintended consequences of data-driven elections—particularly
with respect to the data privacy costs associated with targeted
campaigning.2 Additionally, experts increasingly observed the
potential for discriminatory effects in voter list maintenance
methods. The 2016 presidential election further raised awareness of
the possibility of cyberattacks and hacking made possible by the
digitization of campaigns and voting systems.’

Hacking Elections: Cyber Threats, Vulnerabilities, and The Way Forward
February 23, 2022, ABA

1.5 Professional Practice Credits

Description: Cyber Threats to Elections including:
o Cybersecurity Overview — Ruth Hill Bro
o Foreign Interference — Suzanne Spaulding
o Election Ecosystem — Lucy Thomson
o Cascading Effects - David Turetsky
o Changing Nature of Threats and Adversary Thinking — Will Carter
o Election System Reforms

Supreme Court Review and Preview 2021
September 22, 2021
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3.6 General Credits, DC Bar

Description: Our moderator will interview our expert panelists to
bring out unique insights and engage them in a point/counterpoint
discussion for some of the most interesting cases and issues. Those
who attend will also receive insights into the 2020-21 Supreme
Court term’s highlights. Our distinguished panel includes
experienced Supreme Court practitioners who are uniquely qualified
to look at the Court’s trends and statistics as well as to provide
insight into its decisions.

Discussion and materials included on Brnovich_v. Democratic
National Committee, on the last day before its summer recess, the
Supreme Court issued a major decision on voting rights that will
make it more difficult to contest election regulations under the
Voting Rights Act. By a vote of 6-3, the justices upheld two Arizona
voting provisions that Democrats and civil rights groups challenged
as disproportionately burdening minority voters. In an opinion by
Justice Samuel Alito, the majority outlined what it described as
“guideposts” for future challenges to voting laws under Section 2 of
the Voting Rights Act, which bans racial discrimination in election
practices. The court’s three liberal justices dissented, with Justice
Elena Kagan complaining that Thursday’s decision “undermines
Section 2 and the right it provides.”

One of the provisions at the heart of the case, Brnovich v.
Democratic National Committee, is known as the “out of precinct”
policy. It requires election officials to throw out an entire ballot if it
was cast at the wrong precinct. A voter whose name does not appear
on the voting rolls in a particular precinct is allowed to cast a
provisional ballot, but if election officials later conclude that she
voted in the wrong place, her entire ballot is discarded — even if she
was eligible to vote for statewide or national offices, like governor
or president, for which her precinct would not matter.

The second provision at issue bans what is sometimes called “ballot
harvesting.” Enacted in 2016, a state law makes it a felony to collect
and deliver another person’s ballot (with exceptions for family
members, caregivers, mail carriers and election officials).

 

1 https://www.scotusblog.com/2021/07/court-upholds-arizona-voting-restrictions-limits-cases-
under-voting-rights-act/
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qs I am represented herein by Donald D. Campbell of Collins Einhorn, 4000 Town
Center —_ Drive, 9th —- Floor, Southfield, MI = 48075; (248) = 351-5426;

donald.campbell@ceflawyers.com.

I HEREBY AFFIRM under penalty of perjury that the foregoing is true and correct.
n
Executed on nisl of February 2022.

AH (19

Julia Z. Haller

Law Offices of Julia Haller
601 Pennsylvania Ave., NW
S. Building, Suite 900

 

» Washington, DC 20004
County/City of | c andr ?
Commonwealth/State of lL Office: (202) 729-2201
The foregoing instrument was subscribed and Email: hallerjulia@outlook.com
al before me this__Z- 9 day of
, by
s CLs Haller

iim, HERMAN S. BHULLAR |
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/ 4 ite Commonwealth of Virginia Hf
Notary Public "

My commission expires: O- S ) / COLE

 

 

 

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